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   Are you erecting any temporary structures such as a tent bigger than 10x10, fencing,
   staging, trussing, electrical (generators greater than 5000 watts), plumbing (restroom(s)
   units/port-o-lets), bleachers, pool covers, or other structures? If so, please detail.

   No Structures bigger than 10x10
      - 1x 75Kva Generator provided by: American Portable Air LLC
      - Trussing for light support provided by: DNABox LLC
      - 1x Restroom mobile unit provided by: Royal Restroom LLC
      - Pool Covers and decking provided by: Beta Production LLC

   If you are contending that this is a charitable event, please (1) provide copies of all
   agreements with the charitable organization(s) for the event; (2) provide proof of the
   charitable organization (s’) 501(c)(3) or other tax-exempt status; (3) detail whether any
   goods or services are being sold; and (4) detail how funds are being raised and paid to
   the charitable organization(s).

   NOT A CHARITABLE EVENT

   Do you intend to have any private event sponsors? If so, please state who and detail
   how the sponsorship payment structure will work and whether the residential
   homeowner is receiving any compensation from same. Please also provide copies of all
   agreements with any sponsor(s) of the event.

   NO PRIVATE SPONSORS

   Do you intend to charge an admittance fee? If so, please state how much, from whom,
   and how the fee(s) will be distributed.

   NO ADMITTANCE FEE

   How do you intend to track attendance? For example, wristbands, tickets, etc.

   THERE IS A GUESTLIST AT THE DOOR. GUEST NEEDS TO PRESENT A SPECIAL RING THAT
   WAS SENT ONLY BY INVITATION.
      - Security will have clickers to count occupancy

   How do you intend to invite attendees? For example, personal invitations, public
   advertisements, social media posts, etc. Please also provide copies of all invitations
   (including public advertisements and/or social media posts) that have already been
   published and/or otherwise distributed to potential attendees.
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   ONLY BY PERSONAL INVITATION MAILED TO EACH GUEST

   Do you intend to have live music? If so, please provide the name of the performer(s),
   the location of the performance(s), the length and time of the set, and the equipment to
   be used (including intended decibel output).

   9-10:45 DJ Cruz
   10-45 to 12 Kaz Jamez
   12-12:45 Justin Timberlake (PENDING CONFIRMATION)
   12:45-2 DJ Pawsa

   Audio equipment is L’Acoustic Siva Speakers, these are low-profile speakers with max
   Decibel out of 100db

   Do you intend to have catering? If so, please provide the name of the caterer and the
   equipment to be used (including fire/heating mechanisms).

   Catering by Chef Matin

   CONTRACT ATTACHED

   Do you intend to have bartender(s)? If so, please provide the name of the bartender(s)
   and affiliated vendor (if any), the intended location(s) for bar setup(s) and the number
   of bartenders per bar.

   Catering and Bar Staff supplied by: Chef Martin
   Staff include 5 Barman thru 3 bar stations

   CONTRACT ATTACHED, PROVIDED BY CATERING COMPANY

   Do you intend to have lighting? If so, please provide the name of the lighting vendor(s)
   and the equipment to be used (including wattage).

      -   light support provided by: DNABox LLC

   Lighting Included:

   48 LED wireless uplights x 10watts
   16 Sharpie Extreme x 189watts
   12 Sharpie Aqua x 231 watts
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   8 Chauvet Profile Leko x 165 Wats

   Do you intend to provide parking, valet and/or ride-share drop off locations? If so,
   please detail (including the name of the parking/valet company(ies), number of staff for
   parking/valet, and locations for same) and provide an estimated number of vehicles.

   ESTIMATED NUMBER OF VEHICLES 175
   ALL GUESTS MUST ARRIVE BY RIDESHARE

   10 Security staff is allocated to help with fast vehicle loading/unloading

   Do you intend to install dancefloor(s)? If so, please provide the name of the vendor(s)
   and contractor(s) and the intended location(s).

   Decking will be placed in the patio area to cover the pools and protect the flooring. This
   will be the general area for dancing and lounge spaces

      -   Pool Covers and decking provided by: Beta Production LLC

   Do you intend to use private security contractor(s)? If so, please provide the name of
   the security contractor(s), state how many security personnel will be on site and what
   equipment will be used.

   Security supplied by: Unkown Star Security

   33 Staff will be assigned

   Do you intend to display fireworks? If so, please detail.

   COMPANY PROVIDING FIREWORKS: PYROTECNICO LLC

   FIREWORKS SHOW WILL BE REQUESTED AT 10:45 PM AND LAST FOR 6-8 MINUTES, FOR
   BIRTHDAY ANNOUNCEMENT

   Please provide any additional information you wish the city to consider as evidence that
   impacts to public safety, neighborhood traffic, residents’ quality of life, and the
   residential character of the single-family neighborhood will be adequately ensured.

      -   All residents and Neighbors have been notified in writing, registered mail.
      -   Both neighbors at either side have been supplied hotel stays for the whole week and
          have accepted.
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